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                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION

FRANK D. MCCOLLUM, III, #2021347,             §
                                              §
              Plaintiff,                      §
                                              §
V.                                            §           No. 3:18-CV-2351-N-BK
                                              §
GRACIE G. LEWIS, ET AL.,                      §
                                              §
              Defendants.                     §



            ORDER ACCEPTING FINDINGS, CONCLUSIONS, AND
       RECOMMENDATION OF THE UNITED STATES MAGISTRATE JUDGE

       The United States Magistrate Judge made Findings, Conclusions, and a Recommendation

in this case. No objections were filed. The Court reviewed the proposed Findings, Conclusions,

and Recommendation for plain error. Finding none, the Court ACCEPTS the Findings,

Conclusions, and Recommendation of the United States Magistrate.

       SO ORDERED this 3rd day of December, 2021.




                                           ____________________________________
                                           UNITED STATES DISTRICT JUDGE
